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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 IN RE: CHICAGO BOARD OPTIONS                            Case No. 1:18-cv-04171
 EXCHANGE VOLATILITY INDEX
 MANIPULATION ANTITRUST                                  MDL No. 2842
 LITIGATION
                                                         Honorable Manish S. Shah



                  CBOE’S RESPONSE TO FEBRUARY 12, 2019 ORDER

         Cboe Global Markets, Inc., Cboe Futures Exchange, LLC, and Cboe Exchange, Inc.

(collectively “Cboe”) respectfully submit this response to the February 12, 2019 order seeking

“position papers regarding whether and how case no. 19-cv-00368, LJM Partners, Ltd. v. Does,

and any other potential similar actions that may be filed, should be coordinated with this MDL.”

(ECF No. 210.) Cboe supports including LJM Partners Ltd. v. Does, No. 1:19-cv-00368 (N.D.

Ill.) (“LJM Partners”), and similar cases that might arise, in this multi-district litigation (“MDL”).

As discussed in Section II, Cboe notes that there are several appropriate options for coordination

or consolidation available to this Court, though Cboe takes no position as to what form of

coordination or consolidation this Court should employ here.

I.       LJM Partners Should Be Included as Part of This MDL.

         LJM Partners and the MDL involve common questions of fact, and including LJM

Partners in the MDL would promote the just and efficient conduct of the actions including the

convenience of the parties and witnesses.

         Whether to designate LJM Partners as part of this MDL is soundly within the authority of

this Court. The Judicial Panel on Multidistrict Litigation (“JPML”) agreed, acknowledging Cboe’s

notice that LJM Partners was a potential tag-along action and noting that “[b]ecause the actions


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listed originated in the transferee district, no further action by the Panel is required.” (Notice to

Counsel, In re Chicago Board Options Exchange Volatility Index Manipulation Antitrust Litig.,

MDL No. 2842 (J.P.M.L. Feb. 1, 2019), ECF No. 108.) See J.P.M.L. R. 7.2(a) (“Potential tag-

along actions filed in the transferee district do not require Panel action. A party should request

assignment of such actions to the Section 1407 transferee judge in accordance with applicable local

rules.”).

        Although the JPML rules provide no specific instruction regarding how a district court

should analyze whether to designate a tag-along action filed in the transferee district, a district

court may employ the same criteria analyzed by the JPML. See In re Tobacco/Governmental

Health Care Costs Litig., 76 F. Supp. 2d 5, 8 (D.D.C. 1999) (applying § 1407(a) criteria); c.f. N.D.

Ill. L.R. 40.3(b)(6)(B) (providing that the judge assigned to the MDL is to consider the Rules of

Procedure of the JPML when deciding whether potential tag-along cases filed in the Northern

District should be transferred to the Executive Committee for reassignment). Under those criteria,

the relevant inquiry is: (1) whether the actions involve one or more common questions of fact; (2)

whether consolidation or coordination would serve the convenience of the parties and witnesses;

and (3) whether consolidation or coordination would promote the just and efficient conduct of the

actions. 28 U.S.C. § 1407(a).1 Each of these elements is met here.




1
  Federal Rule of Civil Procedure 42(a)(2), which provides the general standard for consolidating
actions, is a very low threshold; consolidation is permitted if two cases involve even one common
question of law or fact. Fed. R. Civ. P. 42(a)(2) (permitting consolidation if two actions involve
“a common question of law or fact” (emphasis added)). Thus, to the extent Rule 42 applies here,
it is easily met for the same reasons that “the action raises common questions of fact” under the
JPML standard. See infra Part I.A; see also Unified Messaging Sols., LLC v. United Online, Inc.,
No. 13 C 00343, 2013 WL 1874211, at *4 (N.D. Ill. May 3, 2013) (“The JPML’s finding of
common questions of fact [is] sufficient to satisfy Rule 42.”).

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        A.     The Actions Involve Common Questions of Fact.

        LJM Partners involves questions of fact common to this action. This Court has already

made this finding, holding that “[t]here is sufficient overlap in the factual allegations to enable

more efficient administration of the cases if supervised by a single judge.” (See ECF No. 207

(granting motion to reassign LJM Partners to this docket); accord No. 1:19-cv-00368, 2/12/19

Hearing Tr. at 8:1–2 (“[T]here is significant overlap factually between [the LJM Partners]

complaint and the pending MDL.”).)2

        This Court’s finding is correct because both the MDL action and LJM Partners assert a

claim under the Commodity Exchange Act (“CEA”) alleging that the John Doe defendants

engaged in manipulation through their market activity with respect to SPX Options. Specifically,

both actions allege that the Does’ purported manipulation involved actions with out-of-the-money

SPX options that were intended to benefit the Does’ positions in other VIX derivatives or volatility

products. (Compare ECF No. 140 (“MDL Compl.”) ¶¶ 74, 76, 80, with No. 1:19-cv-000368, ECF

No. 1 (“LJM Compl.”) ¶ 12.)         Both complaints argue that the same types of purported

manipulation—for instance, purported gaming of the two non-zero bid rule—were employed,

whether to manipulate the value of the market index known as the VIX or the settlement value for

VIX derivatives known as the SOQ. (Compare MDL Compl. ¶¶ 81–87, with LJM Compl. ¶ 85.)

And each action alleges that indicia of purported manipulation include differences among various

values, such as the SOQ settlement value, the VIX value at the prior day’s close, and the VIX

value following the SOQ. (Compare MDL Compl. ¶¶ 121–24, with LJM Compl. ¶ 90.)



2
  That this Court left open the question of whether LJM Partners and this action were “susceptible
to disposition in a single proceeding under Local Rule 40.4(b)(4)” is not relevant to including LJM
Partners in this MDL. (See ECF No. 207.) As explained above, the inquiry for MDL inclusion
requires only that consolidation would promote the just and efficient conduct of the litigation.

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       MDL Plaintiffs and LJM Partners also support their allegations with the same purported

evidence of alleged vulnerability to manipulation, including the same 2017 research paper

authored by Professor John Griffin (compare MDL Compl. ¶¶ 88–89, with LJM Compl. ¶¶ 84–

89), the same statements made by individuals (compare, e.g., MDL Compl. ¶¶ 9, 74, 178, with

LJM Compl. ¶¶ 100–03), and the same enforcement actions undertaken by Cboe (compare MDL

Compl. ¶¶ 174–76, with LJM Compl. ¶¶ 106–08). Certain figures and diagrams in the LJM

Partners complaint are nearly identical to those in the MDL Consolidated Class Action Complaint.

(Compare MDL Compl. ¶ 52, with LJM Compl. ¶ 68.).

       Thus, to determine whether the plaintiffs in each case have adequately alleged or proven

purported manipulation by the Does under the CEA, this Court will be required to determine

whether the overlapping allegations and evidence show manipulation. That there are some

differences between the allegations in the two complaints does not negate the notion that common

issues of fact exist which support including LJM Partners in the MDL. It is clear that MDL

Plaintiffs’ asserting additional claims is not an impediment to inclusion of LJM Partners in this

MDL: “Where actions share factual questions, the Panel has long held that the presence of

disparate legal theories is no reason to deny transfer.” In re MF Glob. Holdings Ltd. Inv. Litig.,

857 F. Supp. 2d 1378, 1380 (J.P.M.L. 2012) (consolidating cases bringing claims under securities

laws with cases bringing CEA claims).

       Nor is the existence of different factual allegations between the actions a barrier to

including LJM Partners in the MDL. Two actions need not be factually identical or have a

complete identity of parties to be properly included in an MDL, as long as they share a common

factual core. See In re Eliquis (Apixaban) Prods. Liab. Litig., MDL No. 2754, 2017 WL 6569794,

at *2 (J.P.M.L. May 30, 2017) (“[T]ransfer does not require a complete identity of parties or factual



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issues when, as here, the actions arise from a common factual core.”); see also In re MF Glob.,

857 F. Supp. 2d at 1380. Thus, inclusion in the MDL is appropriate regardless of the fact that the

MDL Plaintiffs focus on the effect of alleged manipulation on the SOQ (MDL complaint at, e.g.,

¶ 73) and LJM Partners focuses on the effect of alleged manipulation on the intraday VIX value

(LJM Complaint at, e.g., ¶ 13)—or that LJM Partners’s alleged damages arise from a different

product (see LJM Compl. ¶ 20). Nor does it matter that Cboe is not named as a defendant in the

LJM Partners complaint. See In re Eliquis, 2017 WL 6569794, at *2. Because there is a common

factual core, LJM Partners should be included in the MDL.

       B.      Designating LJM Partners as Part of this MDL Would Promote “the Convenience
               of Parties and Witnesses” and “the Just and Efficient Conduct of Such Actions.”

       Section 1407 “aims to ‘eliminate duplication in discovery, avoid conflicting rulings and

schedules, reduce litigation cost, and save the time and effort of the parties, the attorneys, the

witnesses, and the courts.” Gelboim v. Bank of Am. Corp., 135 S. Ct. 897, 903 (2015) (quoting

Manual for Complex Litigation § 20.131, p. 220 (4th ed. 2004)). Designating LJM Partners as

part of this MDL would best serve those aims.

       In particular, including LJM Partners in the MDL would streamline discovery, should it

become necessary. MDL Plaintiffs and LJM Partners have already requested strikingly similar

expedited discovery. (Compare ECF No. 164-1, with No. 1:19-cv-000368, ECF No. 7-1 (closely

tracking MDL Plaintiffs’ proposed discovery requests 1, 2, 3, and 7).) Combining the cases would

allow this Court to continue to render single rulings on requests to initiate discovery, and if

discovery proceeds, would eliminate duplicative discovery, reduce Cboe’s burden, and avoid

duplication of this Court’s effort in ruling on discovery issues, including any objections Cboe

raises to the substance, scope, and burden of discovery requests. Further, to the extent the parties

would eventually seek to depose Cboe witnesses, or overlapping Doe witnesses should they exist,


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inclusion in the same MDL would avoid the prospect of multiple depositions for each witness.

Indeed, the JPML has explained that one of the underlying purposes of multi-district litigation is

to coordinate deposition discovery. In re Sorin 3T Heater-Cooler Sys. Prods. Liab. Litig. (No. II),

289 F. Supp. 3d 1335, 1337 (J.P.M.L. 2018).

        Failure to combine these actions, in contrast, could allow discovery to proceed on two very

different tracks. On its face, LJM Partners appears to be subject to the Northern District of

Illinois’s Mandatory Initial Discovery Pilot Project, from which MDL proceedings are excepted.

Moreover, in the MDL, discovery currently is stayed under the Private Securities Litigation

Reform Act (“PSLRA”). (See, e.g., ECF No. 196.) Designating LJM Partners as part of this MDL

would avoid two disparate discovery tracks and allow discovery to proceed in an efficient,

coordinated manner.

        Further, as explained above, these actions involve the same set of issues—centering on

whether or not the Does engaged in purported manipulation through market activity in SPX

options. Combining these actions would avoid duplicative merits briefing of those issues, and

generally conserve judicial and party resources.3

        Because the actions involve common questions of fact, and because coordinating the cases

would be convenient to the parties and witnesses and promote the just and efficient conduct of the

actions, LJM Partners should be included as part of this MDL.




3
  Including LJM Partners in this MDL need not disrupt or delay this Court’s consideration of
Cboe’s pending motion to dismiss. (See ECF No. 184.) That motion seeks only to dismiss the
claims against Cboe, and Cboe is not a named defendant in LJM Partners.

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II.    While Cboe Takes No Position, Various Appropriate Options for the Form of
       Coordination or Consolidation Are Available to This Court Once LJM Partners is
       Included in the MDL.

       Section 1407 authorizes transfer of MDL actions “for coordinated or consolidated pretrial

proceedings.” 28 U.S.C. § 1407(a) (emphasis added). “Clearly the term ‘coordinated’ and the

term ‘consolidated’ denote different judicial functions . . .” and “[w]hether and to what extent the

pretrial procedures in the transferred actions will be coordinated or consolidated is the function of

the transferee judge.” In re S. Cent. States Bakery Prod. Antitrust Litig., 433 F. Supp. 1127, 1130

(J.P.M.L. 1977). Thus, this Court has at its disposal two general options for including LJM

Partners in the MDL: to “consolidate” LJM Partners into the current MDL action, or to allow the

actions to proceed separately in a “coordinated” fashion—i.e. with common deadlines and

discovery, and with an overarching case management structure. Cboe takes no position as to what

form of coordination or consolidation is most appropriate here, but notes that this Court has a

number of options available under applicable authority.

       The Manual for Complex Litigation provides some limited guidance regarding later-filed

MDL actions, noting that “it is advisable to order that (1) tag-along actions . . . be automatically

made part of the centralized proceedings upon transfer to, or filing in, the transferee court; (2)

rulings on common issues . . . be deemed to have been made in the tag-along action without the

need for separate motions and orders; and (3) discovery already taken . . . be available and useable

in the tag-along cases.” Manual for Complex Litigation § 20.132, p. 222–23 (4th ed. 2004).

Generally, however, “[a] district court [is] afforded ‘broad discretion to administer the [MDL]

proceeding as a whole,’ because ‘multidistrict litigation is a special breed of litigation where the

whole is bigger than the sum of its parts.” In re General Motors LLC Ignition Switch Litigation,

No. 14-MC-2543 JMF, 2015 WL 3619584, at *6 (S.D.N.Y. June 10, 2015).                    And “[l]ike

snowflakes, no two MDLs are exactly alike.” Id. at *8.
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       Given their broad discretion, courts have approached complaints filed post-consolidation

in a variety of ways. For instance, in In re General Motors, the court required consolidation,

ordering that lead counsel would have an opportunity to amend the MDL’s consolidated

complaints to incorporate later-filed claims, and that any claims that were not incorporated would

be dismissed without prejudice. Id. at *15. In particular, the court provided:

       With respect to claims transferred to or filed in [the MDL] after the filing of [the]
       Consolidated Complaints, Lead Counsel shall have 60 days following transfer or
       filing to seek leave to amend the Consolidated Complaints, for good cause shown,
       to address any factual matter, claims and/or defendant(s) raised for the first time in
       such pleadings. If Lead Counsel do not seek leave to amend the Consolidated
       Complaints within the 60-day period, or if the requested amendment is denied by
       the Court, then any allegations, claims, and defendant(s) not included in the . . .
       Consolidated Complaints shall be dismissed without prejudice . . . unless such
       plaintiff . . . sustains an objection to dismissal. . . .

Id. For any dismissed complaints, the court tolled the statute of limitations until 30 days after the

court decided Lead Counsel’s motion for class certification. Id. at *16. If this Court elected to

employ a similar approach, lead counsel here would be allowed to determine whether or not the

Consolidated Class Action Complaint should be amended to encompass LJM Partners’s claim.

       In Deangelis v. Corzine, by contrast, the court allowed a later-filed action to proceed in a

separate but coordinated manner. 286 F.R.D. 220, 225 (S.D.N.Y. 2012). A plaintiff who had

brought an individual action, including several unique causes of action, was allowed to proceed

separately from the MDL because of its “significant interest in retaining control over its individual

action.” Id. But the court ordered class-action plaintiffs to “integrate [the individual plaintiff’s

counsel] into the leadership structure in a manner to reduce duplicative labor and most efficiently

share information and costs,” to ensure that there would be “efficient and coordinated

administration of the putative commodities class action and [the] individual action.” Id. at 226.

This Court could elect to keep LJM Partners separate from the consolidated action but require lead



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counsel and counsel for LJM Partners to work together to coordinate deadlines, briefing schedules,

and, if necessary, discovery.

       Cboe takes no position on whether one of the two approaches described above—or any

other particular method of coordination or consolidation—is most suitable here. Cboe believes

that its interest in avoiding duplication of effort, ensuring consistent rulings, and in generally

conserving judicial and party resources, can be met by designating LJM Partners as part of the

MDL, regardless of the precise manner in which this Court elects to coordinate or consolidate the

actions.



Dated: February 26, 2019                         Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I, Reid J. Schar, hereby certify that on February 26, 2019, I electronically filed the

foregoing using the CM/ECF system, and have verified that such filing was sent electronically

using the CM/ECF system to all parties who have appeared with an email address of record.


                                               /s/ Reid J. Schar

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                                               Cboe Futures Exchange, LLC, and Cboe
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